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      United States Court of Appeals
           for the Fifth Circuit
                            ___________                     United States Court of Appeals
                                                                     Fifth Circuit


                             No. 24-30043
                                                                   FILED
                                                            February 10, 2025
                            ___________
                                                              Lyle W. Cayce
United States of America,                                          Clerk


                                                        Plaintiff—Appellee,

                                 versus

George Peterson,

                                       Defendant—Appellant.
              ______________________________

             Appeal from the United States District Court
                for the Eastern District of Louisiana
                      USDC No. 2:22-CR-231-1
             ______________________________

ORDER:
     A judge of this Court withholds issuance of the mandate in this appeal.



                           LYLE W. CAYCE, CLERK
                           United States Court of Appeals
                                for the Fifth Circuit
                                /s/ Lyle W. Cayce

            ENTERED AT THE DIRECTION OF THE COURT
